     Case 1:16-cv-00840-EJD Document 46 Filed 12/13/18 Page 1 of 1




       In the United States Court of Federal Claims
                                     No. 16-840C
                             (Filed: December 13, 2018)


************************************
                                    *
BITMANAGEMENT SOFTWARE              *
GMBH,                               *
                                    *
                  Plaintiff,        *
                                    *
            v.                      *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
*************************************

                                       ORDER

        The Court hereby amends the date scheduled for the pre-trial conference. The
pre-trial conference shall now be held telephonically on Wednesday April 10, 2019 at
2:00 pm.

IT IS SO ORDERED.
                                                          s/ Edward J. Damich
                                                          EDWARD J. DAMICH
                                                          Senior Judge
